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                                          UNITED STATES DISTRICT COURT
                                             DISTRICT OF MARYLAND
                                                          OFFICE OF THE CLERK

                                                                                                                Catherine M. Stavlas, Clerk of Court
Reply to Southern Division Address                                                                            David E. Ciambruschini, Chief Deputy


                                                                  May 5, 2023


        Montgomery County Circuit Court
        Civil Department, North Tower, Room 1200
        50 Maryland Avenue
        Rockville, MD 20850

                  RE:        Maryland Shall Issue, Inc. et al v. Montgomery County, Maryland
                             Civil Action No. TDC-21-1736
                             State Court Case No. 485899V

        Dear Clerk:

                On May 5, 2023, the Honorable Theodore D. Chuang signed an order remanding the
        above-entitled case to your Court. Enclosed is a certified copy of the order, together with a
        certified copy of the docket entries. We have discontinued our previous practice of sending the
        state court original papers which were filed in this Court. Should you need certified copies of
        any papers you may contact the Deputy Clerk below.

                  Kindly acknowledge receipt of the enclosed on the duplicate copy of this letter.

                  Thank you for your cooperation in this matter.

                                                                                Sincerely,

                                                                                Catherine M. Stavlas, Clerk

                                                                      By:                            /s/
                                                                                H. Lee                          Deputy Clerk

        Enclosures

        ACKNOWLEDGED RECEIPT THIS                                        DAY OF                            2023
        Remand Letter to Court (Rev. 9/4/2001)




         Northern Division • 4228 U.S. Courthouse • 101 W. Lombard Street • Baltimore, Maryland 21201• 410-962-2600
         Southern Division • 200 U.S. Courthouse • 6500 Cherrywood Lane • Greenbelt, Maryland 20770 • 301-344-0660

                                            Visit the U.S. District Court’s Website at www.mdd.uscourts.gov
